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 1   [Submitting Counsel on Signature Page]
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                                 IN THE UNITED STATES DISTRICT COURT
 9
                            FOR THE NORTHERN DISTRICT OF CALIFORNIA
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11
                                                               Case Nos.:   4:23-cv-05448-YGR
12    People of the State of California, et al.,                            4:22-md-03047-YGR

13           v.                                                MDL No. 3047

14    Meta Platforms, Inc., Instagram, LLC, Meta               STATE ATTORNEYS GENERAL’S
      Payments, Inc., Meta Platforms Technologies,             MOTION FOR EXTENSION OF TIME
15    LLC.

16   -------------------------------------------------------

17   IN RE: SOCIAL MEDIA ADOLESCENT
     ADDICTION/PERSONAL INJURY
18   PRODUCTS LIABILITY LITIGATION

19
     THIS DOCUMENT RELATES TO:
20   4:23-cv-05448

21
              Pursuant to Local Rule 6-3, the State Attorneys General Plaintiffs (State AGs) respectfully
22
     request a seven-day extension of time, to and including April 18, 2025, for their deadline to move
23
     to compel a response to an outstanding Rule 45 subpoena issued to Mindshare Media, Ltd.
24
     (Mindshare). There is good cause for this request, as set forth below.
25
              The State AGs served a Rule 45 subpoena on third-party company Mindshare on March 11,
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     2025. To serve the subpoena, the State AGs retained a process server who provided an affidavit of
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28   STATE ATTORNEYS GENERAL’S
     MOTION FOR EXTENSION OF TIME
                                                                              CASE NOS.: 4:23-CV-05448-YGR
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 1   service attesting that Mindshare was served at the address of its corporate registered agent,

 2   Corporate Creations Network, Inc. The State AGs did not receive a timely response to this

 3   subpoena, and so contacted Mindshare on April 8, 2025, to inquire as to the status of a response.

 4   The State AGs received a response from Mindshare’s counsel the same day, and the parties were

 5   able to discuss the parameters of the subpoena and the potential timing of a production. Mindshare’s

 6   counsel represented, however, that Mindshare had no record of receiving the subpoena, and

 7   indicated that although objections would be forthcoming, Mindshare’s counsel agreed to discuss

 8   the production of certain documents with her client.

 9          Today, on April 11, the State AGs received correspondence from Mindshare’s counsel

10   stating that Mindshare believes it was never properly served with the subpoena and thus is under

11   no obligation to respond. The State AGs require additional time to investigate this assertion,

12   including contacting their process server, to assess whether Mindshare’s objection is appropriate

13   and to evaluate next steps.

14          A seven-day extension is reasonable and will not prejudice any party or the Court. The State

15   AGs properly served Meta with notice of the subpoena on March 10, 2025, and Meta did not object.

16   There is no trial currently set, and a brief extension of this deadline will not affect the other

17   deadlines in this case.

18          To the contrary, the State AGs would be prejudiced if the extension were not granted. The

19   State AGs believe that Mindshare—which the State AGs understand formerly worked with Meta

20   to place Meta’s advertisements and branding into the public sphere—possesses information that is

21   highly relevant to the claims in this case, including data on the scope, frequency, and targeting of

22   its advertising. This information is directly relevant to both the State AGs’ deception claims and

23   potential relief. The State AGs reasonably believed that the subpoena was properly served within

24   the fact discovery period, and only learned today that Mindshare believes it was not properly served

25   with the subpoena.

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     STATE ATTORNEYS GENERAL’S
28   MOTION FOR EXTENSION OF TIME
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 1          The State AGs are filing this motion in lieu of a stipulation because: (1) Mindshare’s

 2   counsel has not received confirmation of Mindshare’s position on the requested extension from her

 3   client and so was unable to agree to a stipulation; (2) Mindshare’s counsel is not admitted to practice

 4   in the Northern District of California; and (3) Mindshare takes the position that, because it believes

 5   it was not properly served with the subpoena, it is not proper for Mindshare to file a stipulation

 6   with this Court. Due to timing of this issue and the end of fact discovery, the State AGs are filing

 7   the motion today, in an abundance of caution.

 8          The State AGs thus respectfully seek a brief extension, to and including April 18, 2025, to

 9   preserve their ability to move to enforce the subpoena or to take other steps to obtain the information

10   they are seeking as appropriate.

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12   Dated: April 11, 2025                                  Respectfully submitted,

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     STATE ATTORNEYS GENERAL’S
28   MOTION FOR EXTENSION OF TIME
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 1   ROB BONTA                                             PHILIP J. WEISER
     Attorney General                                      Attorney General
 2   State of California                                   State of Colorado
 3
     /s/ Megan O’Neill                                     /s/ Lauren Dickey
 4   Nicklas A. Akers (CA SBN 211222)                      Lauren Dickey, (CO Reg. 45773), pro hac
     Senior Assistant Attorney General                     vice
 5   Bernard Eskandari (CA SBN 244395)                     First Assistant Attorney General
     Emily Kalanithi (CA SBN 256972)                       Elizabeth Orem (CO Reg. 58309), pro hac
 6   Supervising Deputy Attorney General                   vice
 7   Megan O’Neill (CA SBN 343535)                         Assistant Attorney General
     Joshua Olszewski-Jubelirer (CA SBN 33642)             Colorado Department of Law
 8   Marissa Roy (CA SBN 318773)                           Ralph L. Carr Judicial Center
     Nayha Arora (CA SBN 350467)                           Consumer Protection Section
 9   Brendan Ruddy (CA SBN 297896)                         1300 Broadway, 9th Floor
     David Beglin (CA SBN 356401)                          Denver, CO 80203
10
     Deputy Attorneys General                              Phone: (720) 508-6384
11   California Department of Justice                      krista.batchelder@coag.gov
     Office of the Attorney General                        Elizabeth.orem@coag.gov
12   455 Golden Gate Ave., Suite 11000
     San Francisco, CA 94102-7004                          Attorneys for State of Colorado, ex rel. Philip
13   Phone: (415) 510-4400                                 J. Weiser, Attorney General
     Fax: (415) 703-5480
14
     Megan.ONeill@doj.ca.gov
15
     Attorneys for the People of the State of California
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28   STATE ATTORNEYS GENERAL’S
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 1   RUSSELL COLEMAN                                   MATTHEW J. PLATKIN
     Attorney General                                  Attorney General
 2   Commonwealth of Kentucky                          State of New Jersey
 3
     /s/ Philip Heleringer                           By: /s/ Thomas Huynh
 4   J. Christian Lewis (KY Bar No. 87109),          Kashif T. Chand (NJ Bar No. 016752008),
     pro hac vice                                    pro hac vice
 5   Philip Heleringer (KY Bar No. 96748),           Section Chief, Deputy Attorney General
     pro hac vice                                    Thomas Huynh (NJ Bar No. 200942017),
 6   Zachary Richards (KY Bar No. 99209),            Pro hac vice
 7   pro hac vice                                    Assistant Section Chief, Deputy Attorney
     Daniel I. Keiser (KY Bar No. 100264),           General
 8   pro hac vice                                    Verna J. Pradaxay (NJ Bar No. 335822021),
     Matthew Cocanougher (KY Bar No. 94292), pro hac Pro hac vice
 9   vice                                            Mandy K. Wang (NJ Bar No. 373452021),
     Gary W. Thompson (KY Bar No. 93733),            Pro hac vice
10
     pro hac vice                                    Deputy Attorneys General
11   Assistant Attorneys General                     New Jersey Office of the Attorney General,
     1024 Capital Center Drive, Ste. 200             Division of Law
12   Frankfort, KY 40601                             124 Halsey Street, 5th Floor
     Christian.Lewis@ky.gov                          Newark, NJ 07101
13   Philip.Heleringer@ky.gov                        Tel: (973) 648-2052
     Zach.Richards@ky.gov                            Kashif.Chand@law.njoag.gov
14
     Daniel.Keiser@ky.gov                            Thomas.Huynh@law.njoag.gov
15   Matthew.Cocanougher@ky.gov                      Verna.Pradaxay@law.njoag.gov
     Gary.Thompson@ky.gov                            Mandy.Wang@law.njoag.gov
16   Phone: (502) 696-5300
     Fax: (502) 564-2698                             Attorneys for Plaintiffs New Jersey Attorney
17                                                   General and the New Jersey Division of
                                                     Consumer Affairs, Matthew J. Platkin,
     Attorneys for the Commonwealth of Kentucky      Attorney General for the State of New Jersey,
18
                                                     and Cari Fais, Director of the New Jersey
19                                                   Division of Consumer Affairs

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28   STATE ATTORNEYS GENERAL’S
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 1                                           ATTESTATION
 2          I, Megan O’Neill, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the concurrence
 3
     to the filing of this document has been obtained from each signatory hereto.
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 5   Dated: April 11, 2025
                                                                 By: /s/ Megan O’Neill
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28   STATE ATTORNEYS GENERAL’S
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 1                                   CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies that a copy of the foregoing was served via CAND/ECF
 3   on all parties of record and further certifies that the foregoing was served via electronic mail on
 4
     April 11, 2025, to the following Counsel for Mindshare Media, at:
 5

 6          Jennifer Klausner
            jklausner@dglaw.com
 7          Davis+Gilbert LLP
            1675 Broadway, New York, NY 10019
 8          dglaw.com

 9
     Dated: April 11, 2025
10                                                               By: /s/ Megan O’Neill
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